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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION



In re:                                         Case No.:       8:08-bk-11059-CPM
                                               Chapter         7
International Turf Applicators, Inc.

          Debtor.
__________________________/

                   MOTION TO REOPEN CHAPTER 7 CASE AND
                  FOR ORDER DIRECTING THE UNITED STATES
             TRUSTEE TO APPOINT A SUCCESSOR CHAPTER 7 TRUSTEE

         Guy G. Gebhardt, Acting United States Trustee for Region 21, by and through his duly

authorized attorney, moves this Honorable Court, pursuant to 11 U.S.C. § 350(b) and Fed. R.

Bankr. P. 5010, for the entry of an order reopening the above captioned bankruptcy case and

directing the United States Trustee to appoint a chapter 7 trustee, and asserts the following:

         1. On July 25, 2008, the Debtors filed a voluntary chapter 7 petition.

         2. The United States Trustee appointed Carolyn R. Chaney as the chapter 7 trustee.

            Trustee Chaney administered the case making a distribution of 8.5% to unsecured

            creditors. The case was closed February 6, 2014, and the trustee was discharged.

         3. The United States Trustee has been notified of the existences of additional funds

            available for a meaningful distribution to be made to creditors.

         4. Accordingly, the bankruptcy case should be reopened pursuant to 11. U.S.C. §

            350(b), and the United States Trustee directed to appoint a trustee to administer any

            available assets for the benefit of the bankruptcy estate and its creditors.

         WHEREFORE, the United States Trustee respectfully prays that this Honorable Court

grant the motion, enter an order reopening the chapter 7 case and setting aside the final decree,
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directing the United States Trustee to appoint a chapter 7 trustee, and for such other and

additional relief that this Honorable Court deems appropriate under these premises.

Dated: May 2, 2017

                                      Respectfully submitted,

                                      GUY G. GEBHARDT
                                      Acting United States Trustee, Region 21

                                      By: /s/Cynthia P. Burnette
                                             Cynthia P. Burnette
                                             Assistant U.S. Trustee
                                             Fla. Bar No. 0858110
                                             501 East Polk St. Suite 1200
                                             Tampa, Florida 33602
                                             (813) 228-2000
                                             (813) 228-2303 fax
                                             Cindy.P.Burnette@usdoj.gov

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
electronically and/or by United States Mail, to the following on or before May 2, 2017:

International Turf Applicators, Inc., 1313 E. Edgewood Drive, Lakeland, FL 33803

International Turf Applicators, Inc., 2910 Drane Field Rd., Lakeland, FL 33811-1329

Joseph F. Lavigne, Jones, Walker, Waechter, Poitevent, 201 St. Charles Avenue,
       New Orleans, LA 70170-5100

David B. McEwen, David B. McEwen, P.A. via CM/ECF Service


                                              /s/ Cynthia P. Burnette
                                              Cynthia P. Burnette
